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                                                                                     Redaction Key
                                                                                     L = BOP-1
                                                                                     D = BOP-2
                                                                                     St = BOP-3
                                                                                     Sh = BOP-4
                                                                                     K = BOP-5
>>> St              4/17/2020 3:33 PM >>>
Perfect, I've made it for 6/30/20 for Mr. Stone, and I'll let L   know.

>>> K                 4/17/2020 3:05 PM >>>
D    and Sh          both said end of June is great.

>>> St              4/17/2020 1:07 PM >>>
Hello,
The judge has ruled on Roger Stone's motion for a new trial. On April 16, 2020 she denied his motion.
The attorney called and spoke w/L            , who relayed the info to me this morning. There are concerns regarding his health,
and requesting a VS Date in June. I do not see an issue with this, & he does have quite a few medical issues that make him high
risk to the COVID, but I wanted to make sure I let you know before I adjust the VS date and/or if you need to brief D      on this
one as well. Please let me know either way, and if you want me to give a specific date, etc. I am adjusting the Order that I
retrieved from Pacer. Thanks!!
